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IN 'I`HE COMMON PLEAS COURT OF LOGAN COUNTY, OHIO

 

MARY RUTAN HOSPITAL

205 Pa]mer Ave.

Bellefontaine, OI-I 43311 _ : _
Ptainaff, n : case'No.: CV l 5 0 9 0 3 24

V.

NEXTGBN HEALTHCARE : 111ng Mark s. o"c@nnor

INFORMATION SYSTEMS, LLC.
efo CT Corporation System,

Statutory A gent `

4400 Easton Cornlnons Way, #125 : COMPLAINT FOR BREACH OF

Columbus, OH 43219 . CONTRACT AN]) MONEY DAMAGES
Defendant.

COMPLAINT
, Now comes Plaintiff, Mary Rutan Hospital (“MRH”), by and through undersigned

counsel, and for its Complaint, States the following

1. MRH is an Ohio corporation with its principal place of business at the address set
forth in the caption of this Complaint.

2. NextGen l-Iealthoare Int`ormation Systems, LLC (“Defendant”) is a California
limited liability company authorized to transact business in the State of Ohio.

3, Venue is proper in this Court pursuant to Ohio Rule of Civil Procedure 3(B)(3),

3(13)(5),3,11<3 3(13)(6).

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4. On or about September 28, 2010, MRH and Defendant’s predecessor in interest,
NextGen Healthcare Information Systems, Inc., entered into a Sor`tware License & Services
Agreement (the “Agreernent”),-which was amended by an Addendum _(the “Addendum”) signed
by representatives ofMRH and Defendant on September 29 and 30, 2010.l

5. Pursuant to the Terms and Conditions of the vContract, Defendant was to provide

v certain “Software” and “User Materials,” among other products, licenses, and services, to MRH
l in exchange for the payment of $92} ,534.00 (the “Contract Price”).

6. l As part of the Terms and Conditions of the Contract, Defendant warranted to
MRH that the Sottware would substantially perform the material functions described in the User
l\/Iaterials when operated on Hardware and with the Third Party Soitware purchased from, or pre-
approved by, Defendant in accordance with the User Materials.

7. Defendant further warranted that, should any problems arise with respect to the
Soltware and/or User Materials, that it would correct the Software or'User l\/Iaterials.

8. The “Sotl;ware lnstallation” is defined in the Contract as the moment in time
following physical installation of the Soi“`tware on any of MRH’s hardware at any ofMRH’s facilities .
when Defendant affirmed to MRH that the software was ready for MRH to begin the implementation
processl §

9. The activation, or “Go Live”, date for the electronic practice management
(“EPM”) portion of the NextGen software was A_pril 15, 2011.

10. The electronic health record (“EI~IR”) portion of the NextGen software was
activated between May 17, 2011 and September 9, 201 1 depending upon the particular practice

group at MRH.

 

' The Agreernent and Addendum are collectively referred to herein as the “Contract.” A copy of the Contract is
attached hereto as Exliiblt A in accordance with Ohio Rule of Civil Procedure lO(D)(l).

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11. From the period after Software Installation, and continuing tlie`reader through the
“Go Live” date until present, MRH experienced hundreds_of problems with, including but not
limited to1 the Software and User Materials provided by Defendant to MRH pursuant to the terms
of the Contract.

12. The product provided by NextGen was severely limited in its functionality from
the outset of its implementation and so full of defects that MRH submitted approximately 200
written work orders, or °‘ticl<ets”, in the first year alone.

13. The product provided by NextGen was materially defective, among other ways, in
that it:

a) lacked a synchronized database between the EPM and EHR application
functions requiring staff to enter the same information multiple times and
resulting in multiple errors in the data fields when synchronized; and

b) EHR application templates do not correctly communicate with EHR modules
jeopardizing the integrity of the medical record in that a physician can enter
information into the electronic health record system one way which then
inexplicably manifests itself incorrectly in the ultimate medical record;

14. MRH placed Defendant on notice of the problems MRH experienced with the
Software and User Materia.ls.
15. The Software and User Materials, among other items, failed to function in a

manner consistent with what was contracted for by MRH as represented to MRH both verbally
and in the Contract.

]6. Defendant substantially failed to remedy the problems MRH experienced with the
‘ Software and User Materials, among other items.
17. The Software and User Materials provided by Det`endant, among other items,

substantially failed to perform as warranted by Defendant.

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18. MRH did not receive the benefit of its bargain when it entered into the Contract
With Defendant for the Software and User Materials, among other items, despite paying
Defendant the Contract Price for same. l

19. As a result of Defendant’s failure to comply With the Terms and Conditions of the
Contract, MRH has incurred significant damages, including retaining variousthird~party
consultants for support in remediating issues With, including but not limited to, the Software
and/or User Materials provided by Defendant.

20. MRH took all steps necessary to mitigate its damages herein in connection with
Defendant’s breach of the Contract.

CouNr 1: BREACH or CONTRACT

21. MRH hereby incorporates all preceding paragraphs as if fully restated herein.

22. ln 2010, l\llRH and Defendant entered into a Contract for certain products,
licenses, and services in exchange for the payment of the Contract Price.

23. MRH performed its obligations under the Contract.

24. Defendant breached the Contract by failing to perform its obligations and provide
the product in accordance with the Contract Terms and Conditions.

25. Further, Defendant breached the Contract by failing to provide functioning
Software and/or User Materials, among other items, to MRH in accordance with the terms of the n
Contract.

26. Further, Defendant breached the Contract by failing to comply with Section 19 of
the Contrac_t in failing to correct the Software or the User Materials.

27. As a result of Defendant’s breach, l\/lRl-l has incurred damages in an amount in

excess of $25,000.00, to be proven at trial.

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COUNT II: BREACH OF EXPRES_S WARRANTY

ZS. MRI-l hereby incorporates all preceding paragraphs as if full restated herein.

29. Defendant expressly warranted to MRH that its Software would substantially
perform the material functions described in the User Materials when operated on Hardware and
with the Third Party Software purchased from, or pre-approved by, Defendant in accordance
with the User Materials.

30. Defendant further warranted that: (ii) it would correct the Software or_ User
Materials; (ii) it would provide MRH with an Update to the Sofcware; (iii) there would be a
single, seamless database between the EPM and EHR application functions', and (iv) that the
EHR application templates would correctly communicate with the EHR modules.

31. Defendant’s statements concerning the Software purchased by MRH were
misleading and induced lVlRH’s actual, reasonable, good faith reliance to enter into the Cont_ract
~ all to MRH’s detrimentl

32. The So&ware does not currently, and did not ever, conform to the express
warranties of Defendant.

33. As a direct and proximate result of the breach of the express warranty, MRH has
been damaged in an amount in excess of $25,000.00, to be proven at the trial of this matter.

C()UNT III: BREACH OF MONEY BACK GUARANTEE
34. f MRH hereby incorporates all preceding paragraphs as if fully restated herein.
35. On Septernber 30, 2010, Defendant provided MRH an express warranty in the form of
a “Money Baclc (iuarantee”, a copy of which is attached hereto as Exhibit B.

36. The “l\/loney Back Guarantee” warrants that “the Software will work properly” in that

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it will materially perform in accordance with the User l\/faterials during the warranty period and
throughout the time MRH is current in its payment for Software l\/Iaintenance Services.

. 37. As set forth above, MRH notified Defendant of numerous failures and errors in its
Software on a repeated and ongoing basis as exemplified by the submission of over 200 work
order requests, or “tickets”, in the first year alone. d

38. 1 The cumulative nature of these numerous and ongoing defects represents a material
failure of the Software to perform in accordance with its _User Materials and the express
warrantiesl

39. While l\/IRH notified Defendant in writing of the issues on multiple-occasions through
hundreds of email~s, work orders and ticlcets, Defendant failed to remedy the situation and the
defects continued rendering the Software materially unreliable and unit for the application for
Which it was intended and purchasedl

40. MRH provided Defendant with more than adequate opportunity to provide properly
functioning Software of a reliable nature.

41. Final]y, on lime 19, 2013, MRH requested a full refund of the Contract price and
tendered the Software and hardware to Defendant. A copy of the June 19, 2013 correspondence
is attached hereto as Exhibit C,

42. On August 5, 2013, Defendant responded to MRH’s lane 19, 2013 communication
by refusing to honor the Money Back Guarantee and redised to accept the return of its Sof`tware
and hardware A copy of the August 5, 2013 correspondence is attached hereto as Exhibit D.

7 43. Defendant has breached the Money Bacl< Guarantee entitling MRH to a full refund of
the purchase price in addition to other incidental and consequential damages in an amount in

excess of $25,000 to be proven at trial.

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COUNT IV: UNJUST ENRICHMENT

44. MRH hereby incorporates all preceding paragraphs a's if fully restated herein

45. MRH paid Defendant an amount in excess of 1,500,000.00 for the Scftware, hardware

and support services.

46. Defendant knowingly accepted the benefit conferred upon it by MRH.

47. The acceptance and retention by Defendant of the benefit conferred on it were under

such circumstances that it Would be inequitable for Defendant to retain the benefit

DEMAND FOR JUDGMENT

Wl-IEREFORE, MRH respectfully requests that this Court issue judgment in its favor and

against Defendant as follows:

a. In connection with Counts I-IV, judgment against Defendant in an amount in excess

of$25,000.00, to be proven at the trial of this matter with reasonable attorney’s fees,

punitive damages, costs, pre- and post-judgment at the relevant statutory rate; and

'b. Costs of this action, together with all other legal and equitable relief to which MRH is

entitled at law or equity.

Respectfully submitted,

T PS N, DUNLAP & HEYDINGER, LTD.

 

errence G. Stol]y (#0073266)

ohn D. Bodin (#0076356)
Zebulon N, Wagner (#()()84337)
1111 Rush Ave., P.O. Box 68
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Telephone: (93 '/') 593~6065
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E-Mail: tstolly@tdhlaw.com

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jbod_in@tdhlaw.com
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ATTORNEYS FOR PLAINTIFF

 

§ence G. Stolly (#0073266)
n D Bodin (#0076356)

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1 Court of Common P|eas Genera| Division, Logan County
-.. 1018 lVlain St_., Rm 18, Bei|efontaine, Ohio 43311-2097

_ SU|V|IV|ONS ON CO|V|PLAlNT
Ru,|e,¢l Ohio Ru|es of Civi| Procedure.

Case NO. CV 13 09 0324

Plaintiff (s) Add rees
|VIARY RUTAN HOSP|TAL 205 PALMER AVENUE
' BELLEFONTA|NE OH 43311
_VS_
Detendant (s)

NEXTGEN HEALTHCARE C/O CT CORPORAT|ON SYSTENl

lNFORlVlAT|ON SYSTEN|S STATUTORY AGENT

LLC . 4400 EASTON COl\/llVlONS WAY #125
COLUN|BUS OH 43219

T0 the above named defendant (s) :

You are hereby summoned that a complaint (a copy of Which is attached
hereto and made part hereot) has been filed against you in this court by
plaintitf(s) named herein.

You are required to serve upon the plaintiff(s) attorney, or upon the Plaintitf(s)
if they have no attorney of record a copy o_f your answer to the complaint Within
28 days after service of this summons upon you, exclusive of the day of service
Said answer must be filed With the court Within three (3) days after service on
plaintiff(s) attorney.

The name of the plaintiff(s)' attorney` is as follows:

JOHN D BODlN

1111 RUSH AVENUE, PO BOX 68
BELLEFONTA|NE OH 43311

Case No. CV 13 09 0324

lf you fail to appear and defend, judgment by default Will be taken against `
you for the relief demanded in the complaint

Barb Nchona|d
Logan County C|erk of Courts

s/`l`iiiiny Hausler

Deputy C|erk

Septeml:)_er._,26, 2013

 

 

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